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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

VS.                            CASE NO. 4:17-cr-00293-BSM

MARCUS O. MILLSAP, ET AL                                                          DEFENDANTS


          DEFENDANT’S SEVENTH MOTION FOR EXTENSION OF TIME
       TO FILE OBJECTIONS TO PRESENTENCE INVESTIGATION REPORT


       COMES NOW the Defendant, Marcus O. Millsap, by and through the undersigned counsel

and for his Seventh Motion for an Extension of Time to File Objections to the Presentence

Investigation Report states:

       1.      Counsel for the Defendant received the first draft of the Presentence Investigation

Report (PSR) in this case on November 22, 2021. The Court previously entered an Order extending

the time for Defendant to file his objections to the PSR to January 21, 2022. ECF No. 2348.

       2.      The undersigned counsel requests additional time to meet with the Defendant, to

determine if there are any valid objections to the PSR, and to submit them to the USPO and USAO.

       3.      The undersigned counsel is in the process of departing from his current law firm

and relocating his practice. Unwinding his practice from said firm imposes ethical duties on the

undersigned counsel to contact his clients and to take steps to avoid prejudice to them, many of

which are time-consuming and must be dealt with immediately.
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       4.      Defendant’s Counsel requests an extension of time to submit objections to the PSR

until March 21, 2022.

       5.      This motion is not submitted for any improper purpose or to cause unneeded delay.

       WHEREFORE, the Defendant asks that this Court allow counsel until March 21, 2022, to

submit objections to the PSR and for all other just and proper relief to which he may be entitled.

       DATED: February 23, 2022.

                                                     RESPECTFULLY SUBMITTED,

                                                     GIBSON & KEITH, PLLC
                                                     Attorneys for Defendant
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                                             By: _____________________________________
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